      Case: 1:21-cv-06039 Document #: 1 Filed: 11/11/21 Page 1 of 4 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 NOEL STUERTZ,                                    )
                                                  )
                                                      Case No. 21-cv-6039
                Plaintiff,                        )
                                                  )
                                                      Removal from the Circuit Court of Lake
         v.                                       )
                                                      County, Illinois
                                                  )
 HORIZON THERAPEUTICS USA, INC.                   )
                                                      Case No.: 21-CH-00396
                                                  )
                Defendant.                        )

                                   NOTICE OF REMOVAL

       Defendant HORIZON THERAPEUTICS USA, INC. (“Horizon”), f/n/a Horizon Pharma USA,

Inc., hereby notifies this Court of the removal of the above-entitled action from the Circuit Court

of Lake County, Illinois to the United States District Court for the Northern District of Illinois,

Eastern Division, under 28 U.S.C. §§ 1331, 1441, and 1446, and states as follows:

       1.      Removal to this Court is based upon federal-question jurisdiction under 28 U.S.C.

§1331, and the action is removable under 28 U.S.C. §1441(a).

       2.      On November 10, 2021, Plaintiff served Horizon’s registered agent for service of

process with copies of a summons and Plaintiff’s Verified Complaint at Law (“Complaint”),

Emergency Motion for Temporary Restraining Order and Preliminary Injunction to Enjoin

Respondent Taking Any Further Adverse Employment Actions (hereinafter “Plaintiff’s Motion

for TRO”), and Plaintiff’s Notice of Emergency Motion.

       3.      Plaintiff’s Complaint includes a stamp indicating that Plaintiff had filed it in the

Circuit Court of Lake County, Illinois on November 5, 2021. Plaintiff’s Complaint was assigned

Case No. 21-CH-00396.
       Case: 1:21-cv-06039 Document #: 1 Filed: 11/11/21 Page 2 of 4 PageID #:2




        4.       The Complaint purports to assert three causes of action: (1) violation of the Illinois

Health Care Rights of Conscience Act, 745 ILCS 70 (Count I); (2) violation of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq.; (Count II) and (3) violation of the Emergency

Use Authorization Provision of the United States Code, 21 U.S.C. §360bbb-3, et seq.

        5.       Copies of all state court process, pleadings, and orders served on Horizon are

attached hereto as Exhibit A. See 28 U.S.C. § 1446(a).

        6.       This Notice of Removal is filed within thirty (30) days of the filing of the initial

pleading, and within thirty (30) days after receipt by Defendant, through service or otherwise, of

a copy of the initial pleading setting forth the claim for relief upon which such action or proceeding

is based and in which a removable claim has been asserted. See 28 U.S.C. §1446 (b).

        7.       The action is of a wholly civil nature, over which the United States District Court

for the Northern District of Illinois has original jurisdiction under 28 U.S.C. §1331. That Court

has federal-question jurisdiction under 28 U.S.C. §1331 based on the allegations in the Complaint,

through which Plaintiff has alleged claims arising under the laws of the United States, namely Title

VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq., and the Emergency Use

Authorization Provision of the United States Code, 21 U.S.C. §360bbb-3, et seq., and may be

removed under 28 U.S.C. §1441.

        8.       Accordingly, removal is appropriate under 28 U.S.C. § 1441 because all

prerequisites for removal of this case to the United States District Court for the Northern District

of Illinois are fulfilled.

        9.       The United States District Court for the Northern District of Illinois, Eastern

Division is the federal judicial district embracing the Circuit Court of Lake County, Illinois, and

venue is therefore proper in this judicial district under 28 U.S.C. § 1441(a).




                                                   2
       Case: 1:21-cv-06039 Document #: 1 Filed: 11/11/21 Page 3 of 4 PageID #:3




        10.     Concurrent with the filing of this Notice of Removal, Horizon is filing a Notice of

Filing of this Notice of Removal with the Clerk of the Circuit Court of Lake County, Illinois, and

serving a copy on Plaintiff’s counsel of record.

        11.     By the Notice of Removal, Horizon does not waive any objections it may have as

to service, jurisdiction, or venue, or any other defenses or objections it may have to this action.

Horizon does not intend any admission of fact, law, or liability by this Notice, and expressly

reserve all defenses and motions.

        WHEREFORE, Defendant respectfully notifies this Court of the removal of this action

from the Circuit Court of Lake County, Illinois to the United States District Court for the Northern

District of Illinois, Eastern Division.


 DATED: November 11, 2021                              Respectfuly submitted,

                                                       By: /s/ Carol A. Poplawski
                                                           One of the Attorneys for Defendant
                                                           HORIZON THERAPEUTICS USA, INC.

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                                                   3
      Case: 1:21-cv-06039 Document #: 1 Filed: 11/11/21 Page 4 of 4 PageID #:4




                              CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on November 11, 2021, she caused the foregoing
Notice of Removal to be served by electronic mail upon the following attorneys for Plaintiff:

                                   Robert J. Tomei Jr.
                      JOHNSTON TOEMI LENCZYCKI & GOLDBERG, LLC
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                                    Attorneys for Plaintiff

                                                  /s/ Carol A. Poplawski
                                                  One of the Attorneys for Defendant


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